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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


WILLIAM HOLT                                          :
                                                      :
               v.                                     :       NO. 2:23-cv-05046-GAM
                                                      :
SIMON’S AGENCY, INC.                                  :


                                 NOTICE OF SETTLEMENT


       It is hereby stipulated by and between Plaintiff William Holt (“Plaintiff”) and Defendant

Simon’s Agency, Inc. (“Defendant”) that Plaintiff’s claims against Defendant are hereby dismissed

with prejudice and without costs to either party pursuant to Local Rule of Civil Procedure 41.1(b)

pursuant to the agreement of counsel for Plaintiff and Defendant. The parties will file a Stipulation

of Dismissal pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) once the settlement has been finalized.


/s/ Robert P. Cocco                                   /s/ Monica M. Littman
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Dated: February 28, 2024                              Attorneys for Defendant
                                                      Simon’s Agency, Inc.
                                                      Dated: February 28, 2024




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